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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA


     UNITED STATES OF AMERICA,

     Plaintiff,

     v.                                                     Criminal Action No. 17-232-EGS

     MICHAEL T. FLYNN,

     Defendant.



                CONSENT APPLICATION TO RESET HEARING DATE AND
                MEMORANDUM OF LAW IN SUPPORT OF APPLICATION

          Pursuant to Local Criminal Rule 57.2(b), Defendant Michael T. Flynn (“Mr. Flynn”) seeks

to reset the hearing on Mr. Flynn’s Motion to Compel Production of Brady Material and for an

Order to Show Cause from November 5, 2019 to November 4, 2019, November 7, 2019, or to a

time that is convenient to the Court and the parties. Mr. Flynn does not seek to change the briefing

schedule for that motion. Good cause exists to reset the hearing date because Jesse Binnall, counsel

for Mr. Flynn, is in a previously scheduled hearing for a different matter on the date that is currently

scheduled in this matter. Mr. Binnall is local counsel to Mr. Flynn and is admitted to the bar of

this Court. Mr. Flynn has complied with Local Criminal Rule 57.2(b) by notifying the government

of this application. The government consents to this application so long as the hearing is reset for

the same week as it is currently scheduled.

          Pursuant to the Federal Rules of Criminal Procedure, “the court may extend the time, or

for good cause may do so on a party’s motion made: before the originally prescribed or previously

extended time expires.” Fed. R. Crim. P. 45(b)(1)(A). Good cause exists here because:




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         1. A status conference was held on September 10, 2019 in this matter. During that

            conference, the Court set a hearing for the Motion to Compel Production of Brady

            Material and for an Order to Show Cause for October 31, 2019 as well as scheduled

            briefing deadlines for that motion.

         2. On September 18, 2019, this Court changed the previously scheduled hearing date from

            October 31, 2019 to November 5, 2019.

         3. Unfortunately, counsel for Mr. Flynn has a previously set two-day hearing in another

            matter in Fairfax County on November 5-6, 2019, and is therefore unavailable on

            November 5, 2019.

         4. Consequently, counsel for Mr. Flynn met and conferred with the government’s counsel

            on September 20, 2019 who indicated that they “are available any day the week of

            November 4th, and have no objection to moving the hearing date to any day that week.

            However, we would object to any continuance beyond that.”

         5. Thus, the government limitedly consents to the request of this application.

         6. This application timely followed.

                                         CONCLUSION

         For these reasons, Mr. Flynn respectfully requests an Order resetting the hearing on Mr.

Flynn’s Motion to Compel Production of Brady Material and for an Order to Show Cause from

November 5, 2019 to November 4, 2019, November 7, 2019, or a time that is convenient to the

Court.

         Dated: September 20, 2019                    Respectfully submitted,

                                                      /s/ Jesse R. Binnall
                                                      Jesse R. Binnall, VSB # 79292
                                                      Lindsay R. McKasson
                                                      Harvey & Binnall, PLLC

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                               CERTIFICATE OF SERVICE

       I hereby certify that, on September 20, 2019, true and genuine copies of Mr. Flynn’s

Consent Application to Reset Hearing Date and Memorandum in Support of the Application

were served via electronic mail by the Court’s CM/ECF system to all counsel of record,

including:

       Jessie K. Liu, U.S. Attorney for the District of Columbia
       Brandon L. Van Grack, Special Assistant U.S. Attorney
       Deborah Curtis, Assistant U.S. Attorney
       Jocelyn Ballantine, Assistant U.S. Attorney
       555 Street, NW
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                                                    Respectfully submitted,


                                                    /s/ Jesse R. Binnall
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